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Local Form 3015-1 (1/22)
                                                      UNITED STATES BANKRUPTCY COURT
                                                           DISTRICT OF MINNESOTA

In re:
Shadrea Letrise Foreman                                                                         Case No.
                                                                                                CHAPTER 13 PLAN       Modified
                                                                                                Dated: March 20, 2024

Debtor.
In a joint case, debtor means debtors in this plan.



Part 1. NOTICE OF NONSTANDARD PLAN PROVISIONS, SECURED CLAIM LIMITATIONS, AND LIEN OR SECURITY
INTEREST AVOIDANCE: Debtor must check the appropriate boxes below to state whether or not the plan includes each of the following
items:

  1.1   A limit on the amount of a secured claim based on a valuation of the             Included                        Not included
        collateral for the claim, set out in Parts 9 or 16

  1.2   Avoidance of a security interest or lien, set out in Part 16                     Included                        Not included

  1.3   Nonstandard provisions, set out in Part 16                                       Included                        Not included

Part 2. DEBTOR'S PAYMENTS TO TRUSTEE: The initial plan payment is due not later than 30 days after the order for relief, unless the
court orders otherwise.

     2.1 As of the date of this plan, the debtor has paid the trustee $   .
     2.2 After the date of this plan, the debtor will pay the trustee:

            Plan payment                         Start MM/YYYY                          End MM/YYYY                                Total
$520.00                                04/2024                                03/2029                          $31,200.00
                                                                                                        TOTAL: $31,200.00

      2.3 The minimum plan length is      36 months or     60 months from the date of the initial plan payment unless all allowed claims are paid in a
          shorter time.
     2.4 The debtor will also pay the trustee 0.00 .
     2.5 The debtor will pay the trustee a total of $ 31,200.00 [lines 2.1 + 2.2 + 2.4]
Part 3. PAYMENTS BY TRUSTEE AND TRUSTEE’S FEES: Prior to confirmation of the plan, the trustee will pay from available funds
    payments designated as Adequate Protection (“Adq. Pro.”) under Parts 8 and 9 to creditors with claims secured by personal property.
    All other funds will be disbursed by the trustee following confirmation of the plan as soon as is practicable. The trustee will pay from available
    funds only to creditors for which proofs of claim have been filed. The trustee is not required to retain funds for any claim for which a proof of
    claim has not been timely filed and may disburse those funds to other claimants. The trustee may collect a fee of up to 10% of plan payments, or
    $ 3,120.00 [line 2.5 x .10]

Part 4. EXECUTORY CONTRACTS AND UNEXPIRED LEASES [§ 365] — The debtor assumes the following executory contracts or
    unexpired leases. Debtor will pay directly to creditors all payments that come due after the date the petition was filed. Cure provisions, if any,
    are set forth in Part 7.

                                      Creditor                                                         Description of Property
        -NONE-

Part 5. CLAIMS NOT IN DEFAULT — Payments on the following claims are current. The debtor will pay directly to creditors all payments that
    come due after the date the petition was filed. The creditors will retain liens, if any.

                                      Creditor                                                         Description of Property
        -NONE-
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Part 6. HOME MORTGAGES IN DEFAULT (§§ 1322(b)(5) and 1322(e)) — The trustee will pay the amount of default listed in the proof of
    claim on the following claims secured only by a security interest in real property that is the debtor's principal residence. The debtor will pay
    directly to creditors all payments that come due after the date the petition was filed. The creditors will retain liens. All following entries are
    estimates.

                                                                                                                         + amount paid
                                                                                                                           to date by
                                 Amount of                 Monthly       Beginning in                     Remaining       Trustee (mod
             Creditor             default                  payment         #mo./yr.      # of payments    Payments         plan only)   Total payments
6.1      MR COOPER           $1,297.00              $23.16                              6                 $              $             $1,297.00
                                                                                                                                TOTAL $1,297.00

Part 7. CLAIMS IN DEFAULT (§§ 1322 (b)(3) and (5) and 1322(e)): The trustee will pay the amount of default listed in the proof of claim in the
    amount allowed on the following claims. The debtor will pay directly to creditors all payments that come due after the date the petition was
    filed. The creditors will retain liens, if any. All following entries are estimates, except for interest rate.

                                                                                                                         + amount
                                                                                                                        paid to date
                                                                                                                         by Trustee
                                Amount of        Interest rate   Beginning in      Monthly          # of      Remaining (mod plan
              Creditor           default           (if any)         mo.yr          Payments       payments    Payments      only)            = Total payments
        DUBLIN
        SQUARE
        HOMEOWNER
7.1     S ASSOC               $14,658.84         0.00%                          $261.77         56            $               $         $14,658.84
                                                                                                                                  TOTAL $14,658.84

Part 8. SECURED CLAIMS SUBJECT TO MODIFICATION (“CRAMDOWN”) PURSUANT TO § 506 (§ 1325(a)(5)) The trustee will
pay,the amount set forth in the “Total Payments” column belowon the followingsecured claims if a proof of claim is filed andallowed.
Notwithstanding a creditor’s proof of claim filed before or after confirmation, the amount listed in the secured claim amount column binds the
creditor pursuant to 11 U.S.C. § 1327 and confirmation of the plan is a determination of the creditor’s allowed secured claim. For secured claims of
governmental units, unless otherwise ordered by the court, the value of a secured claim listed in a proof of claim filed in accordance with FRBP
3012(c) controls over any contrary amount. Unless otherwise specified in Part 16, the creditors listed in this Part retain the liens securing their
allowed secured claims to the extent provided under 11 U.S.C. § 1325(a)(5)(B)(i). Any allowed unsecured portion of the claim will be paid under
Part 12, Part 13, or Part 14.

                                                                                                                                    +amount
                                                                                                                                  paid to date
                                          Secured             Adq.   Begin-ni                                                      by Trustee
                         Est. Claim        claim        Int.   Pro.   ng in           Monthly       # of          Remaining        (mod plan       = Total
         Creditor         amount          amount        Rate (Check) mo./yr.          payment     Payments        payments            only)       payments




                                                                                                                                      TOTAL $0.00

Part 9. SECURED CLAIMS EXCLUDED FROM § 506 AND NOT SUBJECT TO MODIFICATION (“CRAMDOWN”) (§ 1325(a)) (910
vehicles and other things of value)(allowed secured claim controls over any contrary amount): The trustee will pay the amount of the allowed
secured claim listed in the proof of claim at the interest rate set forth below. Any allowed unsecured portion of the claim will be paid under Part 12,
Part 13, or Part 14. All following entries are estimates, except for interest rate. Unless otherwise specified in Part 16, the creditors listed in this Part
retain the liens securing their allowed secured claims to the extent provided under 11 U.S.C. §1325(a)(5)(B)(i).

                                                                                                                               +amount
                                                                                                                                paid to
                                         Est.                                                                                   date by
                                       Secured                                                                                  Trustee
                                        Claim       Int.     Adq. Pro.   Beginning      Monthly        # of         Remaining (mod plan
                Creditor               amount       rate     (Check)     in mo./yr.     payment      Payments        payments    only)   Total payments
        WESTLAKE                                                         04/2024      $100.00        4              $
        FINANCIAL                     $7,165.0                                        $155.49        56             $
9.1     SERVICES                      0          9.50                                                                         $         $9,107.28
                                                                                                                                 TOTAL $9,107.28
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Part 10. PRIORITY CLAIMS (not including claims under Part 11): The trustee will pay in full all claims entitled to priority under § 507(a)(2)
    through (a)(10), including the following. The amounts listed are estimates. The trustee will pay the allowed portion of the priority amount
    listed in the proof of claim.

                                                                                                                        +amount
                                                                                                                      paid to date
                                                                                                                       by Trustee
                                                     Beginning         Monthly            # of         Remaining       (mod plan
              Creditor           Claim Amount        in mo.yr.         payment          payments       payments           only)        =Total payments
                                                                  $368.00/             4/
10.1    Attorney Fees         $2,700.00                           $26.70               46            $               $               $2,700.00
        INTERNAL
        REVENUE
10.2    SERVICE               $0.00                               $0.00                0             $               $               $0.00
        MN DEPT OF
10.3    REVENUE               $0.00                               $0.00                0             $               $               $0.00
                                                                                                                           TOTAL $2,700.00

Part 11. DOMESTIC SUPPORT OBLIGATION CLAIMS: The trustee will pay in full all domestic support obligation claims entitled to priority
under § 507(a)(1), including the following. The amounts listed are estimates. The trustee will pay the allowed portion of the priority amount listed
in the proof of claim.

                                                                                                                      + amount
                                                                                                                     paid to date
                                                                                                                      by Trustee
                                                    Beginning        Monthly                          Remaining       (mod plan
            Creditor          Claim amount          in mo./yr.       payment         # of payments    payments           only)         =Total payments
        -NONE-
                                                                                                                          TOTAL $0.00


Part 12. SEPARATE CLASSES OF UNSECURED CLAIMS — In addition to the class of unsecured claims specified in Part 13, there shall be
    separate classes of non-priority unsecured creditors including the following. The trustee will pay the allowed portion of the nonpriority amount
    listed in the proof of claim. All following entries are estimates.
                                                                                                                + amount paid
                                             Interest                                                              to date by
                            Undersecured       Rate     Beginning                          # of      Remaing Trustee (mod
            Creditor        claim amount     (if any)    in mo./yr. Monthly Payment Payments payments             plan only)       = Total payments
        -NONE-
                                                                                                                        TOTAL $0.00


Part 13. TIMELY FILED UNSECURED CLAIMS — The trustee will pay holders of allowed non-priority unsecured claims for which proofs of
claim were timely filed the balance of all payments received by the trustee and not paid under Parts 3, 6, 7, 8, 9, 10, 11, and 12 their pro rata share of
approximately $ 316.88 [line 2.5 minus totals in Parts 3, 6, 7, 8, 9, 10, 11, and 12].
13.1      The debtor estimates that the total unsecured claims held by creditors listed in Part 8 and 9 are $ 165.00 .
13.2      The debtor estimates that the debtor's total unsecured claims (excluding those in Part 8 and 9) are $ 58,349.00 .
13.3      Total estimated unsecured claims are $ 58,514.00 [lines 13.1 + 13.2].

Part 14. TARDILY-FILED UNSECURED CREDITORS — All money paid by the debtor to the trustee under Part 2, but not distributed by the
trustee under Parts 3, 6, 7, 8, 9, 10, 11, 12, and 13, will be paid to holders of allowed nonpriority unsecured claims for which proofs of claim were
tardily filed. Tardily filed claims remain subject to objection pursuant to 11 U.S.C. §502(b)(9).

Part 15. SURRENDER OF COLLATERAL AND REQUEST FOR TERMINATION OF STAY: The debtor has surrendered or will surrender
the following property to the creditor. The debtor requests that the stays under §§ 362(a) and §§ 1301(a) be terminated as to the surrendered collateral
upon confirmation of the plan.

                                                                                                      Description of Property
                                      Creditor                                          (including complete legal description of real property)
        -NONE-


Part 16. NONSTANDARD PROVISIONS: The Trustee may distribute additional sums not expressly provided for herein at the trustee’s discretion.
Any nonstandard provisions, as defined in FRBP 3015(c), must be in this Part. Any nonstandard provision placed elsewhere in the plan is void. Any
request by the debtor to modify a claim secured only by a security interest in real property that is the debtor’s principal residence must be listed in
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this Part and the debtor must bring a motion to determine the value of the secured claim pursuant to Local Rule 3012-1(a).
 16.1 The debtor shall send the Trustee each year during the Chapter 13 Plan copies of his/her federal and state income tax
         returns at the time they are filed. The debtor shall also promptly report to the Trustee the receipt of any state and federal
         tax refunds for the duration of this Chapter 13 case. If the debtor files taxes individually, the debtor shall be entitled to
         retain the first $1,200 of refunds plus any Federal Earned Income credit (EIC) plus any Minnesota Working Family (WFC)
         credit.
 16.2 SURRENDER and RELIEF FROM STAY: Upon the granting of relief from the automatic stay, the trustee shall cease
         payments on account of the secured portion of the applicable claim. In the event of the granting of relief from the
         automatic stay, surrender, foreclosure, repossession, or return of any collateral to any secured creditor listed in parts 4,
         5, 6, 7, 8, 9, 10, or 13 for any reason, the trustee shall pay any deficiency as a general unsecured claim upon amendment
         of the applicable claim. Any alleged balance of any claim to such creditor shall be discharged upon the debtor(s)
         receiving a discharge in this case.
 16.3 APPROVAL NOT REQUIRED TO INCUR POST PETITION DEBT. Approval by the bankruptcy court, or Chapter 13 trustee,
         shall not be required prior to debtor incurring ordinary consumer debt while this case is pending. Letters of approval will
         not be provided by the Chapter 13 trustee and one is not needed for debtor to incur post-petition ordinary consumer debt
         in Minnesota. All parties in interest retain all rights regarding the treatment of this debt in future modified plans and
         motions to confirm such plans.


SUMMARY OF PAYMENTS:


                                          Class of Payment                                                    Amount to be paid

Payments by trustee [Part 3]                                                                        $   3,120.00
Home mortgages in default [Part 6]                                                                  $   1,297.00
Claims in Default [Part 7]                                                                          $   14,658.84
Secured claims subject to modification (cramdown) pursuant to § 506 [Part 8]                        $   0.00
Secured claims excluded from § 506 [Part 9]                                                         $   9,107.28
Priority Claims [Part 10]                                                                           $   2,700.00
Domestic support obligation claims [Part 11]                                                        $   0.00
Separate classes of unsecured claims [Part 12]                                                      $   0.00

Timely filed unsecured claims [Part 13]                                                             $ 316.88
TOTAL (must equal line 2.5)                                                                         $ 31,200.00


Certification regarding nonstandard provisions:
I certify that this plan contains no nonstandard provision except as     Signed: /s/ Shadrea Letrise Foreman
placed in Part 16.                                                               Shadrea Letrise Foreman
                                                                                 Debtor 1
Signed:    /s/ Matthew M. Tande
           Matthew M. Tande 388339                                       Signed:
           Attorney for debtor or debtor if pro se                                 Debtor 2 (if joint case)
